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                                   4                         IN THE UNITED STATES DISTRICT COURT

                                   5                      FOR THE NORTHERN DISTRICT OF CALIFORNIA

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                                   7                                                   Case No. 19-md-02918-MMC
                                         IN RE: HARD DRIVE SUSPENSION
                                   8                                                   ORDER REFERRING TO
                                         ASSEMBLIES ANTITRUST LITIGATION               MAGISTRATE JUDGE JOINT
                                   9                                                   LETTER BRIEF RE: DEPOSITION
                                         _________________________________             PROTOCOL DISPUTES
                                  10     This Document Relates to:
                                  11     ALL ACTIONS
                                  12
Northern District of California
 United States District Court




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                                             Pursuant to Civil Local Rule 72-1, the parties' Joint Letter Brief Regarding
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                                       Deposition Protocol Disputes, filed August 12, 2020, as well as all further discovery
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                                       matters, are hereby REFERRED to a Magistrate Judge to be heard and considered at the
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                                       convenience of the assigned Magistrate Judge's calendar.
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                                             The Magistrate Judge to whom the matter is assigned will advise the parties as to
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                                       the manner in which that Judge intends to proceed. The Magistrate Judge may issue a
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                                       ruling, order more formal briefing, or set a telephone conference or a hearing. After a
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                                       Magistrate Judge has been assigned, all further discovery matters shall be filed pursuant
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                                       to that Judge's procedures.
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                                             IT IS SO ORDERED.
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                                       Dated: August 13, 2020
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                                                                                              MAXINE M. CHESNEY
                                  26                                                          United States District Judge

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